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      EXHIBIT 11
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                               (°)    it          2E-                          (

                                                 Character Bios

    I.   TOMMY HOTO, JR.             (9sd L
         Code Name DRAGON -




         Palladrium Skateboard he can mentally control, Indestructible.
         Supreme martial artist.
         Son of astrict Japanese-American executive

    2.    RANDY DANIELS           }4 I
         Code Name PALOMINO
                          -




         Extremely strong legs
         Has the speed and endurance of awild horse.
         Daughter of aMontana rancher
         Her mother disappeared at age 3.

    3.   SPENCER WICKE VI           -
         Code Name ROOSTER-




         Can create high tech gadgets very quickly and with scant materials.
         Son of awealthy British family.

    4.   ELEAH SANDFOSS
         Code Name CONDA
                      -




         Power to contort her body like asnake.
         Expert jungle fighter. Can control snakes.
         Daughter of South African businessman and African Queen said to be descended from the
         Queen of Sheba.

    5.   SANDY O'HALLERAN              L
         Code Name K-9-




         Has the power to move earth.
         Has powerful sense of smell.
         Son of poor Irish family,
         Cousins are involved with the IRA.

    6.   JUANITA MARIA DIEGO £
         Code Name RABBTTT
                      -




         Has the power of luck.
         Is unnaturally good with computers
         Parents live in Mexico.

    7,   PRfNCESS ODIRA PATEL              (    /7
         Code Name FE LION
                      -




         Has the power of the tiger to paralyze its victim by staring at it.
         Indian princess of very powerful family
         Currently betrothed in an arranged marriage she doesn't want




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    8. FRANCOIS DESCARTES               eL
       Code Name RAT TAIL
                   -                  /
       Explosives expert
       Has the ability to hide in unusual places
       Raised by grandparents who were underground fighters in WWII

   9, BRAXTON BLAKE                        (
      Code Name RAZORBACK
                   -




      Has exceptional, battle skills
      Almost impossible to hit because he reacts so quickly
      Has twin forearm palladrium "finbiades" that can spin in any direction and can be fired like
       buzzsaws                      , 411, 1

       Canadian son of lumberjack tuned businessman

    10. GUTTIRIE HAMMOND kt f I
        Code Name -OX
        Extremely strong
        Has the power to shift the tipping point of any object allowing him to move almost anything
        Training in Austria to be aprofessional concert pianist

    J1.PATACKAPADUA
      Code Name TANG
                   -




      Has the power to control various waves in the electromagnetic spectrum
      Family is from Amazon Basin in Brazil

   12. VIRGINIA JANATOBA -tjL I )
       Code Name —SHEEP
       Has the power to change the coefficient of friction on ant surface making it slippery or sticky
       Her large family lives in New Zealand




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                            ZODIAC REGIMENT 12 CHARACTER BIOS

   I.   TOMMY HOTO, JR.. age 16
        Code Name DRAGON
                     -




        Palladrium Skateboard he can mentally control
         Indestructible
        Supreme martial artist
        Son of astrict Japanese-American executive

   2.    RANDY DANIELS, age 16
        Code Name PALOMINO
                     -




        Extremely strong legs
        Has the speed and endurance of awild horse
        Daughter of aMontana rancher
        Her mother disappeared at age 3

   3.   SPENCER WICKE VI. age 18
        Code Name ROOSTER
                     -




        Can create high tech gadgets very quickly and with scant materials
        Son of awealthy British family

   4.   ELEA H SANDFOSS, AGE 16
        Code Name CONDA
                     -




        Power to contort her body like asnake
        Expert jungle fighter. Can control snakes
        Dauahtcr of South African businessman and Acan Queen said to he descended from
        the Queen of Sheba

   5.   SANDY O'HALLERAN, age 17
        Code Name K-9-




        Has the power to move earth
        Has powerful sense of smell
        Son of poor Irish family
        Cousins are involved with the IRA

   6. JUANITA MARIA DIEGO, age 14
      Code Name— RAF3BITT
      Is confined to awheelchair
      Has the power of lurk
      Is unnaturally good with computers
      Parents live in Mexico

   7,   PRINCESS ODIRA PATEL, age 17
        Code Name FE LION
                     -




        Has the power of the tiger to paralyze its victim by staring at it
        Indian princess of very powerful family




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         Currently betrothed in an arranged marriage she doesn't want

    S.   FRANCOIS DESCARTES. age 16
         Code Name RAT TAIL
                     -




         Explosives expert
         Has the ability to hide in unusual places
         Raised by grandparents who were underground fighters in France during WWII

    9.   BRAXTON BLAKE, age 18
         Code Name RAZORBACK
                     -




         Has exceptional battle skills
         Almost impossible to hit because he reacts so quickly
         Has twin forearm palladriuni "finHades" that can spin in any direction and can he fired
         like buzzsaws
         Canadian son of lumberjack turned businessman

    10- GUTF-IRIE HAMMOND, age 15
        Code Name— OX
        Extremely strong
        Has the power to shift the tipping point of any object allowing him to move almost
        anything
        Training in Austria to be aprofessional concert pianist

    II PATACKA PADUA. age 14
       Code Name TANG-




       Has the power to control various waves in the electromagnetic spectrum
       Family is from Amazon Basin in Brazil

    12. VIRGINIA JANATOI3A. age 13
        Code Name SHEEP
                     -




        has the power to change the coefficient of friction on any surface making it slippery or
        sticky
        Her large family lives in New Zealand




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                                           Zodiac Regiment 12

    1.   TOMMY HOTO. JR age 16
         Code Name DRAGON -




         Palladrium Skateboard he can mentally control
          Indestructible
         Supreme martial artist
         Son of astrict Japanese-American executive

    2.    RANDY DANIELS, age 16
         Code Name PALOMINO
                      -




         Extremely strong legs
         Has the speed and endurance of awild horse
         Daughter of aMontana rancher
         Her mother disappeared at age 3

         SPENCER WICKE VI, age IS
         Code Name ROOSTER
                      -




         Can create high tech gadgets very quickly and with scant materials
         Son of awealthy British family

   4.    ELEAH SANDFOSS, AGE 16
         Code Name CONDA
         Power to contort her body like asnake
         Expert jungle fighter. Can control snakes
         Daughter of South African businessman and African Queen said to be descended from the
         Queen of Sheba

   5,    SANDY O'HALLERAN, age 17
         Code Name K-9-




         Has the power to move earth
         Has powerful sense of smell
         Son of poor Irish family
         Cousins are involved with the IRA

   6,    JUANITA MARIA DIEGO. age 14
         Code Name RABBITT
                      -




         Is confined to awheelchair
         Has the power of luck
         Is unnaturally good with computers
         Parents live in Mexico

   7.    PRINCESS ODIRA PATEL. age 17
         Code Name FE LION
                      -




         Has the power of the tiger to paralyze its victim by staring at it
         Indian princess of very powerful family
         Currently betrothed in an arranged marriage she doesn't want




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    S.   FRANCOIS DESCARTES, aze 16
         Code Name RAT 1'A IL
                         -




         Explosives expert
         Has the ability to hide in unusual Places
         Raised by grandparents who were underground fighters in France during WWII

    9.   BRAXTON BLAKE, age 18
         Code Name RAZORBACK
         Has exceptional battle skills
         Almost impassible to hit because he reacts so quickly
         Has twin forearm pallaclriuin tinblades' that can spin in any direction and can he fired like
         buzzsaws
         Canadian son of lunherjack turned businessman

    10. GUTHRIE HAMMOND, age 15
        Code Name OX -




        Extremely strong
        Has the power to shift the tipping point of any object allowing him to move almost anything
        Training in Austria to be aprofessional concert pianist

    11: PATACKA PADUA, age 14
        Code Name TANG
                     -




        Has the power to control various waves in the electromagnetic spectrum
        Family is from Amazon Basin in Brazil

    12. VIRGINIA JANATOBA, age 13
        Code Name SHEEP
                     -




        Has the power to change the coefficient of friction on any surface making it slippery or sticky
        Her large family lives in New Zealand




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                                  ZODIAC KIDS      -   TREATMENT



           ZODIAC KIDS is the XMEN of the YUOIO age. It has the same potential as

    POWER RANGERS and TEENAGE MUTANT NINJA TURTLES With THE LAST

    AIRBENDER coming out, the timing is great.

           ZODIAC KIDS is the story of the formation of'the modern cosmic Delta Force

    known as the ZODIAC REGIMENT 12 (ZR-12) Every age of earth has had the need for

    ORDER to battle CHAOS, and 12 amulets are passed down from age to age, giving the

    recipients the powers of their respective animal in the Chinese Zodiac.

           While battling their opposites in the Chinese Zodiac, each hero must also confront

    their inner fears and the normal conflicts involved in growing up. The task of training ZR-12

    to fight as ateam is given to LEE CHING, the ANCIENT ONE. He is an AVATAR            -   an

    otherworldly being who serves ORDER. Although he appears as an old Asian man, he is

    actually thousands of years old, With his disciple STEVE FIN, they must stop LIN CHING

    (the ANCIENT ONE's cousin and eternal nemesis) from resurrecting ZR 12's opposing

    team, the SCIONS OF CHAOS, and dragging the world into ahorrific nightmare where

    CHAOS reigns and ORDER ceases to exist




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                           ZODIAC REGIMENT 12 CHARACTER BIOS

    I.   TOMMY HOTO, JR., age 16
         Code Name DRAGON
                     -




         Paliadriurn Skateboard he can mentally control
          Indestructible
         Supreme martial artist
         Son of astrict Japanese-American executive

          RANDY DANIELS, age 16
         Code Name PALOMINO
                     -




         Extremely strong legs
         Has the speed and endurance of awild horse
         Daughter of aMontana rancher
         Her mother disappeared at age 3

    3.   SPENCER WICKE VI, age 18
         Code Name ROOSTER
                     -




         Can create high tech gadgets very quickly and with scant materials
         Son of awealthy British family

    4.   ELEAH SANDFOSS, AGE 16
         Code Name CONDA
         Power to contort her body like asnake
         Expert jungle tighter. Can control snakes
         Daughter of South African businessman and African Queen said to be descended from
         the Queen of Sheba

    5.   SANDY O'HALLERAN, age 17
         Code Name K-9
                     -




         Has the power to move earth
         Has powerful sense of smell
         Son of poor Irish Family
         Cousins are involved with the IRA

    6.   JUANITA MARIA DIEGO. age 14
         Code Name RABB ITT
                     -




         Is confined to awheelchair
         Has the power of luck
         is unnaturally good with computers
         Parents live in Mexico

    7 PRINCESS ODIRA PATEL, age 17
      Code Name FE LION
                     -




      Has the power of the tiger to paralyze its victim by staring at it
      Indian princess of very powerful family




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         Currently betrothed in an arranged marriage she doesn't want

    S.   FRANCOIS DESCARTES. a          ge16
         Code Name RAT TAIL
         Explosives expert
         Has the ability to hide in unusual places
         Raised by grandparents who were underground fighters in France during WWI!

    9,   BRAXTON BLAKE, age 18
         Code Name RAZORBACK
                     -




         Has exceptional battle skills
         Almost impossible to hit because he reacts so quickly
         Has twin forearm palladrium "finblades" that can spin in any direction and can be fired
         like buzzsaws
         Canadian son of lumberjack turned businessman

    iO GUTT-IIRIE HAMMOND, age 15
       Code Name OX  -




       Extremely strong
       Has the power to shift the tipping point of any object allowing him to move almost
       anything
       Training in Austria to he aprofessional concert pianist

    Ti. PATACKA PADUA, age 14
        Code Name TANG
                     -




        Has the power to control various waves in the electromagnetic spectrum
         Family is from Amazon Basin in Brazil

    12. VIRGINIA JANATOBA, age 13
        Code Name SHEEP
        Has the power to change the coefficient of friction On any surface making it slippery or
        sticky
        Her large family lives in New Zealand




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